












Affirmed and Memorandum Opinion filed August 31, 2010.

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-09-00816-CR

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&nbsp;

TORI DEVON BUSBY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

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&nbsp;

On Appeal from the 263rd District Court

Harris County, Texas

Trial Court Cause No. 1107445

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&nbsp;

MEMORANDUM
OPINION

Appellant entered a plea of guilty to aggravated assault with
a deadly weapon.&nbsp; The trial court deferred adjudication of guilt and placed
appellant under community supervision for a period of four years.&nbsp;
Subsequently, the State moved to adjudicate guilt.&nbsp; Appellant entered a plea of
true to the State’s allegations.&nbsp; The trial court proceeded to adjudicate
appellant guilty, sentenced him to confinement for eight years in the Institutional
Division of the Texas Department of Criminal Justice and assessed a fine of $200.
Appellant filed a timely notice of appeal.

Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit. The brief meets the requirement
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by presenting
a professional evaluation of the record and demonstrating why there are no
arguable grounds to be advanced. See High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit. Further, we find no reversible error in the
record. We need not address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review. See Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex.
Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Seymore, Boyce, and Christopher.

Do Not Publish — Tex. R. App. P. 47.2(b).





